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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON



 J.B.,                                                    NO. 3:23-cv-01962-CL
                                 Plaintiff,

                  vs.                                     MOTION FOR LEAVE TO FILE THE
                                                          FIRST AMENDED COMPLAINT
 LEVI GRAY et al.,

                                 Defendants.




                                          LR 7-1 Conferral

         Pursuant to LR 7-1(a), counsel for plaintiff certifies that she attempted to confer with

defendant Gray (who is unrepresented). Plaintiff’s counsel sent Mr. Gray an email with the


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proposed First Amended Complaint and markups of the original Complaint and asked for his

availability to confer by telephone. Based upon Mr. Gray’s emailed hostile responses indicating

his objections, and his failure to provide his availability for a telephone conference, it was

apparent that further attempts to confer by telephone would be futile. (Walsh decl. ¶¶ 5-7.)

         Pursuant to LR 7-1(a), plaintiff certifies that she conferred with defense counsel for the

State Defendants (all defendants excluding Gray), and they have no objection to this Motion but

they were undecided as to whether or not they will be waiving 11th Amendment immunity on

State Law claims. They stated they would make that decision before filing an Answer to the

First Amended Complaint. (Walsh decl. ¶ 4.)

                                               Motion

         Pursuant to FRCP 15 and LR 15-1, plaintiff moves the Court for leave to file the First

Amended Complaint. The proposed First Amended Complaint is attached as Exhibit 1. The

First Amended Complaint with markups showing the changes is attached as Exhibit 2. This

motion is supported by the declaration of Lynn S. Walsh filed herewith.

         The proposed First Amended Complaint adds two additional defendants (David Gonzalez

and the State of Oregon), four state law claims against the State of Oregon, and numerous

additional facts learned through discovery. The proposed First Amended Complaint also

dismisses Mike Reese and John Doe. The statute of limitations has not run as to any claim or

party. The close of fact discovery is not until June 6, 2025.

         The requirements of FRCP 15(a)(1) cannot be met, thus plaintiff seeks to amend the

complaint pursuant to FRCP 15(a)(2), i.e., “with the opposing party’s written consent or the




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court’s leave.” As described above, plaintiff has received emails from defendant Mr. Gray

indicating his objection. Thus, plaintiff seeks to amend with the court’s leave.

         “The court should freely give leave when justice so requires.” FRCP 15(a)(2). The

discretion whether to allow leave to amend is guided by the underlying purpose of FRCP 15(a),

which is “to facilitate decision on the merits, rather than on the pleadings or technicalities.”

Novak v. United States, 795 F.3d 1012, 1020 (9th Cir. 2015) (citation omitted). Thus, leave to

amend is to be granted with “extreme liberality.” Desertrain v. City of Los Angeles, 754 F.3d

1147, 1154 (9th Cir. 2014).

         In this case, the statute of limitations has not run as to any party or claim. There are no

relation-back issues. There is no prejudice to any defendant, including Mr. Gray.

         Further, plaintiff is well aware that the State may assert 11th Amendment immunity. If it

does, the statute of limitations has not yet run as to any of those claims, leaving plaintiff free to

refile her state law claims in state court or, in the alternative, waiting until the State moves to

dismiss her state law claims, leaving plaintiff the ability to refile her claims in state court

pursuant to ORS 12.220.

         For the foregoing reasons, plaintiff respectfully requests the Court to grant the Motion for

Leave to Amend.

         DATED: February 11, 2025

                                                _/s/ Lynn S. Walsh_______________
                                                Lynn S. Walsh, OSB #924955
                                                Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

       I certify that I mailed via first class mail and email the following Motion for Leave to File
First Amended Complaint on February 12, 2025 to the following individuals:

Levi Gray
2232 SE Pine St. #7
Portland, OR 97214
levvus007@gmail.com


                                               /s/ Lynn S. Walsh
                                              Lynn S. Walsh, OSB #924955
                                              Attorney for plaintiff




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